Case 2:18-cv-04802-AG-DFM Document 19 Filed 03/01/19 Page 1 of 2 Page ID #:249




 1
 2
 3
 4
 5
 6
 7
 8                     UNITED STATES DISTRICT COURT
 9                    CENTRAL DISTRICT OF CALIFORNIA
10   PAUL DURAN, Derivatively on Behalf of      Case No. 2:18-cv-04802-AG
     PUMA BIOTECHNOLOGY, INC.,                  (DFMx)
11
                            Plaintiff,          ORDER GRANTING
12                                              VOLUNTARY DISMISSAL
13        v.                                    WITH PREJUDICE

14   ALAN H. AUERBACH, CHARLES R.
     EYLER, THOMAS R. MALLEY, JAY M.
15   MOYES, TROY E. WILSON, FRANK
     ZAVRL, and ADRIAN M. SENDEROWICZ,
16
                            Defendants,
17
          -and-
18
     PUMA BIOTECHNOLOGY, INC., a
19   Delaware corporation,
20
                     Nominal Defendant.
21
22
23
24
25
26
27
28
                                                                       ORDER GRANTING
                                                 VOLUNTARY DISMISSAL WITH PREJUDICE
                                                        Case No. 2:18-cv-04802-AG (DFMx)
Case 2:18-cv-04802-AG-DFM Document 19 Filed 03/01/19 Page 2 of 2 Page ID #:250




 1                                           ORDER
           Pursuant to the Stipulation of Voluntary Dismissal with Prejudice filed by
 2
     Plaintiff Paul Duran (“Plaintiff”) and Defendants Alan H. Auerbach, Charles R. Eyler,
 3
     Jay M. Moyes, Troy E. Wilson, Adrian M. Senderowicz, Frank Zavrl, and Thomas R.
 4
     Malley (the “Individual Defendants”) and Nominal Defendant Puma Biotechnology,
 5
     Inc. (“Puma,” and collectively with Plaintiff and the Individual Defendants, the
 6
     “Parties”), and good cause appearing, IT IS HEREBY ORDERED THAT:
 7
           1.     This action shall be dismissed in its entirety with prejudice, with all
 8
     Parties waiving all rights to appeal from or with respect to any aspect of this action;
 9
     and
10
           2.     Except as otherwise provided in the Settlement, each Party shall bear his
11
     or its own costs, fees, and expenses, including attorneys’ fees.
12
13
     IT IS SO ORDERED.
14
15
     Dated: March 1, 2019                    By:
16                                                   Honorable Andrew J. Guilford
17                                                   United States District Judge

18
19
20
21
22
23
24
25
26
27
28                                             -1-
                                                                               ORDER GRANTING
                                                         VOLUNTARY DISMISSAL WITH PREJUDICE
                                                                Case No. 2:18-cv-04802-AG (DFMx)
